     Case 3:05-cr-00130-CRS Document 31 Filed 03/16/06 Page 1 of 3 PageID #: 66




                               UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                      AT LOUISVILLE


UNITED STATES OF AMERICA                                                                   PLAINTIFF


v.                                                         CRIMINAL ACTION NO. 3:05CR-130-S


HERMAN KNOX                                                                              DEFENDANT


                           MEMORANDUM OPINION AND ORDER


         This matter is before the court on motion of the defendant, Herman Knox, for an order

suppressing all physical and testimonial evidence obtained as a result of the search of the

defendant’s residence on June 14, 2005. The defendant challenges the sufficiency of the affidavit

submitted by Detective Steve Healey of the Louisville Metro Police Department in support of the

application for search warrant.

         There is a presumption of validity with respect to an application for search warrant upon

which a warrant has been issued. See, Franks v. Delaware, 438 U.S. 154, 171, 98 S.Ct. 2674, 2684,

57 L.Ed.2d 667 (1978). The United States Supreme Court stated in Franks, 98 S.Ct. at 2684 that

         To mandate an evidentiary hearing, the challenger’s attack must be more that
         conclusory and must be supported by more than a mere desire to cross-examine.
         There must be allegations of deliberate falsehood or of reckless disregard for the
         truth, and those allegations must be accompanied by an offer of proof. They should
         point out specifically the portion of the warrant affidavit that is claimed to be false;
         and they should be accompanied by a statement of supporting reasons. Affidavits
         or sworn or otherwise reliable statements of witnesses should be furnished, or their
         absence satisfactorily explained.

         The motion to suppress herein falls far short of that which is required by Franks. There is

no offer of proof via affidavit or otherwise to support the challenge to Detective Healey’s affidavit

for search warrant. The defendant makes a number of conclusory statements concerning the

affidavit. He states that the “independent investigation” was “sorely lacking in facts,” and that “the

police made statements that were either not truthful or were made with reckless or intentional
  Case 3:05-cr-00130-CRS Document 31 Filed 03/16/06 Page 2 of 3 PageID #: 67




disregard for their falsity.” Motion to Suppress, p. 2. Additionally, the defendant notes that the

confidential informant was unnamed and that the affidavit “does not make mention of any facts, nor

specific information to substantiate the reliability of the CI.” Id.

       The defendant contends that the “independent investigation” recited in the affidavit relied

“almost exclusively” on the defendants’ criminal history. Id. A review of the portion of the

affidavit relating to the independent investigation reveals more than a mere recitation of the criminal

history of the defendants. The independent investigation corroborated specific facts offered by the

confidential informant.

       The confidential informant described particular vehicles driven by the defendants and offered

particular and detailed information concerning the drug operation allegedly run by the defendants.

In particular, the informant described a black Ukon and a gold Caprice as vehicles driven by James

Knox and Herman Knox respectively. A gold Caprice was parked in front of the address given by

the confidential informant as the location at which narcotics were being stored and sold. It was

verified that the vehicle was registered to James Knox.

       The confidential informant described with particularity the drug activity being conducted.

Detective Healey stated that the informant had proven reliable, as previous information from the

informant had resulted in the seizure of large amounts of narcotics and arrests for narcotics

trafficking. He noted that the informant was familiar with the drug trade including the way in which

illegal drugs were sold, cut, weighed, stored and ingested. Detective Healey also stated that

controlled buys of narcotics had been made from both defendants.

       The informant stated that the defendants were brothers. The informant stated that the

brothers kept a large weapons cache in the apartment in question for fear of being robbed of guns

or money. The informant stated that they were from California, and made “runs” to Tennessee and

California to obtain narcotics to sell in Louisville. The informant claimed to have seen narcotics and

weapons in the apartment within 48 hours of the time Detective Healey drafted his application for

                                                 -2-
  Case 3:05-cr-00130-CRS Document 31 Filed 03/16/06 Page 3 of 3 PageID #: 68




search warrant. The informant also noted that on occasion crack cocaine which was being sold from

the apartment was being cooked in another apartment on the same property. The prior arrests of the

defendant, James Knox, included narcotics trafficking arrests in Tennessee and California. Herman

Knox had prior arrests, including narcotics trafficking arrests, in California. Thus the confidential

informant’s information concerning the specifics of the defendants’ drug trafficking activities was

bolstered by (1) a reputation of the informant for reliability in the past, (2) controlled buys of

narcotics which were made from both defendants, and (3) the defendants’ prior arrests for narcotics

trafficking in both Tennessee and California.

       The defendant suggests that more than one affidavit for search warrant contained the phrase

“within 48 hours of the warrant being drafted the CI observed...,” but that these warrants were sworn

to and subscribed three days apart. No other affidavits other than the one presently before us were

provided to the court. No further explanation has been offered as to how the above-quoted phrase

evidences untruthfulness. The defendant’s contention falls short of the substantiated and specific

allegation of untruthfulness required by Franks, supra.

       Motion having been made and for the reasons set forth herein and the court being otherwise

sufficiently advised, IT IS HEREBY ORDERED AND ADJUDGED that the motion of the

defendant, Herman Knox, for suppression of physical and testimonial evidence (DN 29) is

DENIED.



IT IS SO ORDERED.



            March 15, 2006




                                                -3-
